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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES,

                      Plaintiff,

v.                                                    Case Number: 97-81440

GEORGE BLAIR,                                         HONORABLE PATRICK J. DUGGAN

                      Defendant.
                                           /

        OPINION AND ORDER DENYING DEFENDANT’S MOTION FOR
                        RECONSIDERATION

                         At a session of said Court, held in the U.S.
                            District Courthouse, Eastern District
                               of Michigan, on JUNE 2,2005.

                PRESENT: THE HONORABLE PATRICK J. DUGGAN
                         U.S. DISTRICT COURT JUDGE

        Following a bench trial in 1998, Defendant was found guilty of five counts of

possession with intent to distribute controlled substances in violation of 21 U.S.C.

§ 841(a)(1). Presently before the Court is Defendant’s motion for reconsideration, filed

May 16, 2005, with respect to an Opinion and Order issued by this Court on May 4, 2005.

For the following reasons, the motion for reconsideration will be denied.

        Rule 7.1(g) provides that a motion for reconsideration only should be granted if the

movant demonstrates that the Court and the parties have been misled by a palpable defect

and that a different disposition of the case must result from a correction of such a palpable

defect. Id. A motion that merely presents the same issues already ruled upon by the
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Court shall not be granted. Id. The Court concludes that it did not commit a palpable

error when it denied Defendant’s Rule 60(b)(6) motion.

      Accordingly,

      IT IS ORDERED that Defendant’s motion for reconsideration is DENIED.




                                         s/PATRICK J. DUGGAN
                                         UNITED STATES DISTRICT JUDGE
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